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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MARYLAND
                                   (Baltimore Division)

 In re
                                                          Case No. 25-10308 (DER)
 Diamond Comic Distributors, Inc., et al.,
                                                          Chapter 11
                           Debtors. 1
                                                          (Jointly Administered)


           ALLIANCE ENTERTAINMENT, LLC’S OBJECTION TO DEBTORS’
           MOTION FOR ENTRY OF ORDERS AUTHORIZING THE SALE OF
         SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS TO THE BACK-UP
            BIDDERS PURSUANT TO THE BIDDING PROCEDURES ORDER
                 AND MOTION TO SHORTEN NOTICE OF MOTION
         Alliance Entertainment, LLC (“AENT”) by and through its undersigned counsel, files its
Objection to Debtors’ Motion for Entry of Orders Authorizing the Sale of Substantially All of the

Debtors’ Assets to the Back-Up Bidders Pursuant to the Bidding Procedures Order and Motion to

Shorten Notice of Motion, and in support thereof states as follows:

         1.      On April 11, 2025, the Court entered an Order (I) Approving Asset Purchase

Agreement Among Diamond Comic Distributors, Inc., Diamond Select Toys & Collectibles,

LLC and Alliance Entertainment, LLC; (II) Approving Sale of Substantially All of the Debtors’

Assets Free and Clear of All Liens, Claims, Encumbrances and Other Interests; (III) Approving

Assumption and Assignment of Certain Executory Contracts and Unexpired Leases; and (IV)

Granting Related Relief. [Dkt. # 335] (the “AENT Sale Order”), ordering the sale of the Debtors’

assets to AENT.

         2.      As more fully alleged in AENT’s Verified Complaint [Adv. Pro. No. 25-00112,

Dkt. # 1]:

                 (a) AENT learned for the first time after the entry of the AENT Sale Order that the

         Debtors’ distribution agreement (the “Distribution Agreement”) with its largest vendor

         accounting for approximately 25% of the Debtors’ Alliance Gaming Business Revenue

         was ending today;




          1
              The Debtors in these chapter 11 cases along with the last four digits of the Debtors’ federal tax
identification numbers are: Diamond Comic Distributors, Inc. (3450); Comic Holdings, Inc. (7457); Comic Exporters,
Inc. (7458); and Diamond Select Toys & Collectibles, LLC (6585). The Debtors’ mailing address is: 10150 York
Road, Suite 300, Hunt Valley, Maryland 21030.
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                (b) Despite offers from AENT, the Debtors refused to meaningfully negotiate an

       adjustment to the terms of the AENT APA to account for the loss of the Distribution

       Agreement; and

                (c) Therefore, AENT (i) issued a Notice of Material Adverse Change on April 23,

       2025 and (ii) terminated the AENT APA on April 24, 2025, prior to its required closing

       date of April 25, 2025.

       3.       At approximately 10:16pm on April 29, 2025, the Debtors’ filed Debtors’ Motion

for Entry of Orders Authorizing the Sale of Substantially All of the Debtors’ Assets to the Back-

Up Bidders Pursuant to the Bidding Procedures Order [Dkt. # 385] (the “Motion to Sell to Back-
Up Bidders”).

       4.       Thereafter on April 29, 2025, the Debtors filed Debtors’ Motion to Shorten Notice

of Debtors’ Motion for Entry of Orders Authorizing the Sale of Substantially All of the Debtors’

Assets to the Back-Up Bidders Pursuant to the Bidding Procedures Order [Dkt # 386] (the

“Motion to Shorten”). The Motion to Shorten seeks to have a hearing on the Motion to Sell to

Back-Up Bidders approximately 12 hours after the filing of the Motion. That is neither

reasonable nor sufficient notice to AENT and other creditors.

       5.       The filing of these motions last night represents further collusion on the part of

the Debtors to sell their assets to their preferred buyers rather than maximize value to their

creditors and estates, and the Motion to Sell to Back-Up Bidders should not be heard on

essentially no notice. The attempt to move forward with a lack of notice is concerning

considering last week the Debtors issued a press release stating that they had a new buyer lined

up and made minimal changes to the APAs attached to the Motion to Sell to Back-Up Bidders,

yet waited until 12 hours before their requested hearing to file the Motions.

       6.       AENT is still evaluating, but upon a rushed initial analysis questions, whether the

Motion to Sell to Back-Up Bidders will ultimately provide more value to the Debtors’ estates

than what has been offered by AENT prior to submitting its termination of the AENT APA.

       7.       Also of note is the fact that the No Material Adverse Change section in the

Universal APA is redacted [Dkt. # 385-2, p. 45], which requires explanation and investigation

based upon the allegations in the Verified Complaint and as summarized above.

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       8.      This objection was prepared without appropriate notice, and AENT reserves the

right to supplement its objection prior to any scheduled hearing.
       WHEREFORE, AENT respectfully requests that the Motion to Shorten be denied, that the
Motion to Sell to Back-Up Bidders be scheduled for a later date to provide AENT and all other
parties-in-interest with an opportunity to further evaluate and respond to the Motion to Sell to
Back-Up Bidders, and for such other relief as this Court deems just and appropriate.

Dated: April 30, 2025                                  Respectfully submitted,

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                                   CERTIFICATE OF SERVICE
               I HEREBY CERTIFY that on the 30th day of April 2025, notice of filing the

foregoing Objection was served by CM/ECF to those parties listed on the docket as being

entitled to such electronic notices, which parties are identified on the attached service list.


                                                              /s/ Jonathan A. Grasso
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